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SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, STATE OF
NEW YORK ex rel. CLIFFORD WEINER,

Plaintiffs,
12 Civ. 1466 (ALC)
- against -
Order
SIEMENS AG et al., ——
Defendants.

 

 

ORDER
Upon consideration of the letter application, dated June 22, 2018, submitted by the
United States, it is hereby ORDERED that:
1, The plaintiff-relator’s qui tam complaint, all Court orders, and the Government’s
Notice of Decision to Decline Intervention with Respect to Relator’s Complaint
shall be unsealed after entry of this order. All other documents submitted to the
Court prior to entry of this order shall remain under seal and not be made public.
2. The seal shall be lifted as to all matters occurring in this action subsequent to the
entry of this order.
Dated: June , 2018
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HONOKABLE ANDREW L. CARTER, JR. -—
UNITED STATES DISTRICT JUDGE

 
